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                                 IN THE UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF TEXAS
                                           HOUSTON DIVISION


RUSSELL, ET AL.,
                      Plaintiffs,

vs.                                                                      Civil Action No. 4:19-cv-226

HARRIS COUNTY, TEXAS, ET AL.,
                      Defendants




    RESPONSE OF JUDGES BRIAN E. WARREN, LORI C. GRAY, DANILO LACAYO
    AND CHUCK SILVERMAN TO 19 FELONY JUDGES’ MOTION TO STAY OR, IN
           THE ALTERNATIVE, MOTION FOR PROTECTIVE ORDER




           Judges Brian E. Warren, Lori C. Gray, Chuck Silverman, and Danilo Lacayo, in their

official capacities as judges of the 209th, 262nd, 183rd, and 182d District Courts, Harris County,

Texas (collectively, “Intervening Judges”), file this Response to inform the Court of their

position with regard to the nineteen felony judges’ (“Felony Judges”) motion to stay or, in the

alternative, motion for protective order (“motion to stay”) (Dkt. No. 351).1

           The Intervening Judges are opposed to the motion to stay. However, because the

Intervening Judges are named defendants in this matter who occupy the same elected judicial

positions as the nineteen felony judges seeking to stay this matter or, in the alternative, seeking a



1
 As described in Plaintiffs’ Response, Judges Warren and Silverman intervened in this action. See Unopposed
Motion to Intervene by Chuck Silverman (Dkt No. 181) and Unopposed Motion to Intervene by Brian Warren (Dkt
No. 192). Judges Gray and Lacayo substituted counsel from the Office of the Attorney General to undersigned
counsel. See Notice of Attorney Substitution by Lori C. Gray (Dkt No. 250) and Notice of Attorney Substitution by
Danilo Lacayo (Dkt No. 291). All four judges are referred to as “Intervening Judges” for clarity in this Response.

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protective order, in the event that the Court grants any of the relief sought by the Felony Judges,

the interests of fairness and efficiency dictate that this relief should apply equally to the

Intervening Judges.

           As the Court is aware, the Intervening Judges did not join the Felony Judges’ motion to

dismiss based on sovereign immunity or any other grounds. Nor have the Intervening Judges

joined the Felony Judges’ appeal of the denial of that motion. The Intervening Judges have

answered the complaint. See Answers to Amended Complaint (Dkt No. 255 and 301). The

Intervening Judges seek to move this litigation forward expeditiously and are prepared to engage

with the Plaintiffs with regard to the pending discovery requests.

           However, should the Court provide any of the relief requested by the Felony Judges, that

relief should apply equally to the Intervening Judges. If the Court were to grant relief to the

nineteen Felony Judges, but except the four Intervening Judges, this would result in a discovery

posture where identically situated public officials were set on two separate discovery paths

within the same litigation. Such a result would not promote efficiency or fairness. Therefore, the

Intervening Judges respectfully ask the Court to extend any relief granted to the Felony Judges to

the Intervening Judges as well.




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                                                                  Respectfully submitted.


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                                               CERTIFICATE OF SERVICE

           I, G. Allan Van Fleet, hereby certify that on this the 23rd day December of 2020, a true

and correct copy of the foregoing document was transmitted using the CM/ECF system, which

automatically sends notice and a copy of the filing to all counsel of record.




                                                                                        /s/ G. Allan Van Fleet
                                                                                        G. Allan Van Fleet




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